                             Case 24-12156-BLS                      Doc 1         Filed 09/17/24             Page 1 of 19


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/24
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Tupperware Brands Corporation


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       14901 S Orange Blossom Trail
                                       Number              Street                                     Number         Street


                                                                                                      P.O. Box
                                       Orlando                            FL        32837
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Orange County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.tupperware.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                              Case 24-12156-BLS                Doc 1        Filed 09/17/24             Page 2 of 19
Debtor            Tupperware Brands Corporation                                    Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          3261

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                             ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                               4/01/25 and every 3 years after that).
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement of
                                                               operations, cash-flow statement, and federal income tax return or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                               chooses to proceed under Subchapter V of Chapter 11.
                                                             ☐ A plan is being filed with this petition.

                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                               Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                      ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No        District
   filed by or against the debtor     ☐ Yes.                                         When      MM/DD/YYYY     Case number
   within the last 8 years?
                                                  District                           When                     Case number
     If more than 2 cases, attach a                                                            MM/DD/YYYY
     separate list.




     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                             Case 24-12156-BLS                     Doc 1         Filed 09/17/24          Page 3 of 19
Debtor           Tupperware Brands Corporation                                        Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship    Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                         District      District of Delaware
   List all cases. If more than 1,                                                                                  When            09/17/2024
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                          Number       Street



                                                                                          City                              State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☐ Funds will be available for distribution to unsecured creditors.
                                      ☒ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☐       5,001-10,000                   ☒     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                      ☐     200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                             Case 24-12156-BLS                    Doc 1       Filed 09/17/24            Page 4 of 19
Debtor           Tupperware Brands Corporation                                      Case number (if known)
          Name



15. Estimated assets (on a          ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☒    $500,000,001-$1 billion
    consolidated basis)             ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on       ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)           ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                    ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                    ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         09/17/2024
                                                             MM/ DD / YYYY


                                             /s/ Steven Marcus Ramos                                        Steven Marcus Ramos
                                             Signature of authorized representative of debtor                Printed name

                                             Title    Treasurer




18. Signature of attorney                    /s/ Patrick J. Reilley                                         Date        09/17/2024
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Patrick J. Reilley
                                             Printed name
                                             COLE SCHOTZ P.C.
                                             Firm name
                                             500 Delaware Avenue, Suite 1410
                                             Number                Street
                                             Wilmington                                                             Delaware          19801
                                             City                                                                   State               ZIP Code

                                             (302) 652-3131                                                         preilley@coleschotz.com
                                             Contact phone                                                               Email address
                                             4451                                                Delaware
                                             Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
                      Case 24-12156-BLS                   Doc 1      Filed 09/17/24           Page 5 of 19



Official Form 201A

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                                             )
 In re:                                                                      )    Chapter 11
                                                                             )
 TUPPERWARE BRANDS CORPORATION,                                              )    Case No. 24-[____] (___)
                                                                             )
                                  Debtor.                                    )
                                                                             )
    Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

    1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
number is   1-11657

    2. The following financial data is the latest available information and refers to the debtor’s condition on
September 30, 2023


     (a)   Total assets                                               $   679,500,000
     (b)   Total debts (including debts listed in 2.c., below)        $   1,203,900,000
     (c)   Debt securities held by more than 500 holders                  N/A
                                                                                                         Approximate
                                                                                                         number of
                                                                                                         holders:
     secured     ☐    unsecured     ☐    subordinated      ☐     $
     secured     ☐    unsecured     ☐    subordinated      ☐     $
     secured     ☐    unsecured     ☐    subordinated      ☐     $
     secured     ☐    unsecured     ☐    subordinated      ☐     $
     secured     ☐    unsecured     ☐    subordinated      ☐     $


     (d)   Number of shares of preferred stock                                                           0
     (e)   Number of shares of common stock                                                              46,530,613


     Comments, if any:




    3. Brief description of debtor’s business:        Tupperware Brands Corporation is a global consumer products provider of
food storage solutions.


     4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
voting securities of debtor:
Charles Schwab; Barclays PLC.
                       Case 24-12156-BLS                Doc 1        Filed 09/17/24   Page 6 of 19




    Fill in this information to identify the case:

    United States Bankruptcy Court for the:
                             District of Delaware
                                        (State)                                                ☐ Check if this is an
    Case number (if                                                                                amended filing
    known):                                          Chapter    11



                                                 Rider 1
                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       Each of the entities listed below (collectively, the “Debtors”) filed, or will file, a petition in the
United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the
United States Code. The Debtors are requesting joint administration of these cases under the case
number assigned to the chapter 11 case of Tupperware Brands Corporation.

•      Tupperware Brands Corporation
•      Dart Industries Inc.
•      Deerfield Land Corporation
•      Premiere Products, Inc.
•      Tupperware Brands Latin America Holdings, L.L.C.
•      Tupperware Home Parties LLC
•      Tupperware International Holdings Corporation
•      Tupperware Products AG
•      Tupperware Products, Inc.
•      Tupperware U.S., Inc.
                   Case 24-12156-BLS            Doc 1     Filed 09/17/24       Page 7 of 19



                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    TUPPERWARE BRANDS CORPORATION,                                )   Case No. 24-[____] (___)
                                                                  )
                                Debtor.                           )
                                                                  )

                                     LIST OF EQUITY SECURITY HOLDERS1

                                                                                          Percentage of
               Equity Holder                      Address of Equity Holder
                                                                                           Equity Held
                                                       3000 Schwab Way
                Charles Schwab                                                                 11.2%
                                                      Westlake, Texas 76262
                                                         1 Churchill Place
                 Barclays PLC                                                                    7.8%
                                                     London, England E14 5HP




1      This list reflects holders of five percent or more of Tupperware Brands Corporation's common stock.
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. By the Motion of Debtors for Entry of Interim and Final Orders
       (I) Authorizing the Debtors to (A) Redact Certain Confidential Information of Customers, and (B) Redact
       Certain Personally Identifiable Information of Individuals; (II) Approving the Form and Manner of
       Service of the Notice of Commencement; (III) Waiving the Requirement to File a List of Equity Security
       Holders; and (IV) Granting Related Relief filed contemporaneously herewith, the Debtor is requesting
       a waiver of the requirement under Bankruptcy Rule 1007 to file a list of all of its equity holders.
                Case 24-12156-BLS           Doc 1      Filed 09/17/24      Page 8 of 19



                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 TUPPERWARE BRANDS CORPORATION,                               )   Case No. 24-[____] (___)
                                                              )
                          Debtor.                             )
                                                              )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                Shareholder                            Approximate Percentage of Shares Held
                Charles Schwab                                            11.2%
                                     Case 24-12156-BLS                    Doc 1         Filed 09/17/24              Page 9 of 19


      Fill in this information to Identify the case:

      Debtor Name: TUPPERWARE BRANDS CORPORATION
                                                                                                                                             Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                  amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if       Deduction          Unsecured
                                                                                                                    partially secured     for value of       claim
                                                                                                                                          collateral or
                                                                                                                                          setoff

  1       CHANG TSI AND PARTNERS LIMITED      CONTACT: SIMON TSI,             TRADE PAYABLES                                                                      $1,213,191.20
          6-8TH FL TOWER A, HUNDRED           MANAGING PARTNER                (US)
          ISLAND PARK                         PHONE: +86 1088369999
          BEI ZHAN BEI JIE STREET             EMAIL ADDRESS ON FILE
          XICHENG DISTRICT
          BEIJING 100044 CHINA
  2       BDO USA, LLP (FORMERLY KNOWN        CONTACT: WAYNE BERSON,          TRADE PAYABLES                                                                      $1,067,204.15
          AS BDO SEIDMAN, LLP)                CEO                             (US)
          339 SIXTH AVENUE                    PHONE: 301-354-2500
          8TH FLOOR                           FAX: 301-354-2501
          PITTSBURGH, PA 15222                EMAIL ADDRESS ON FILE
  3       FTI CONSULTING TECHNOLOGY LLC       CONTACT: SOPHIE ROSS,    TRADE PAYABLES                                                                              $659,467.50
          50 CALIFORNIA STREET                GLOBAL CHIEF EXECUTIVE   (US)
          SUITE 1900                          OFFICER - TECHNOLOGY
          SAN FRANCISCO, CA 94111             PHONE: 847-533-2609
                                              FTITECHSALES@FTICONSULTI
                                              NG.COM
  4       SADA SYSTEMS INC                    CONTACT: LUSINE                 TRADE PAYABLES                                                                       $593,548.88
          5250 LANKERSHIM BLVD, STE 720       YEGHIAZARYAN, CFO               (US)
          LOS ANGELES, CA 91601               PHONE: 818-766-2400
                                              SUPPORT@SADA.COM
  5       FM POLSKA SP ZOO                    CONTACT: SEBASTIEN              TRADE PAYABLES                                                                       $570,438.12
          UI. TARCZYNSKA 11A                  MAQUET, CFO                     (TPAG)
          MSZCZONOW                           PHONE: +48 468570001
          MAZOWIECKIE                         FMLOGISTIC@FMLOGISTIC.P
          POLAND                              L
  6       ORACLE AMERICA INC                  CONTACT: SHAWN M                TRADE PAYABLES                                                                       $550,000.00
          500 ORACLE PKWY                     CHRISTIANSON                    (US)
          REDWOOD CITY, CA 94065              PHONE: 415-227-0900
                                              EMAIL ADDRESS ON FILE



Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 1
                                  Case 24-12156-BLS                  Doc 1      Filed 09/17/24               Page 10 of 19
  Debtor: TUPPERWARE BRANDS CORPORATION                                                        Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  7     MARSH & MCLENNAM COMPANIES,        CONTACT: MARK MCGIVNEY, TRADE PAYABLES                                                                           $540,459.11
        INC DBA MARSH USA                  CHIEF FINANCIAL OFFICER (US)
        1166 AVE OF THE AMERICAS           PHONE: 212-345-5000
        NEW YORK, NY 10036                 CONTACT@MMC.COM;
                                           EMAIL ADDRESS ON FILE


  8     MILLENARIE INTERNATIONAL           CONTACT: ZHENLIANG          TRADE PAYABLES                                                                       $523,763.56
        NO 9, GUANGZHAN HWY, NAHUO         ZHANG, DIRECTOR             (TPAG)
        INDUSTRIAL ZONE                    PHONE: +86 662 3219788
        YANGDONG DISTRICT                  FAX: +86-662-3226688
        YANGJIANG, GUANGDONG 529931        EMAIL ADDRESS ON FILE
        CHINA
  9     ALL BLUE SOLUTIONS INC             CONTACT: SANDRA             TRADE PAYABLES                                                                       $487,895.95
        26B2 WILSON ST                     CAYOUETTE, COO              (US)
        GUELPH, ON N1H 4G5                 PHONE: 647-478-7292
        CANADA                             EMAIL ADDRESS ON FILE
  10    ZHEJIANG LATIM ELECTRIC            CONTACT: JETTY CHOU,        TRADE PAYABLES                                                                       $485,753.00
        APPLIANCE CO., LTD                 SALES CLERK                 (TPAG)
        NO. 168, YONGXUE ST                PHONE: +86 0579-83739805
        WUCHENG DISTRICT                   FAX: +86 0579-83739800
        JINHUA
        ZHEJIANG CHINA
  11    REALTY INCOME CORP DBA SPIRIT      CONTACT: SUMIT ROY,         TRADE PAYABLES                                                                       $438,737.17
        REALTY, LP                         PRESIDENT & CEO             (US)
        11995 EL CAMINO REAL               PHONE: 877-924-6266
        SAN DIEGO, CA 92130                IR@REALTYINCOME.COM
  12    ERNST & YOUNG LLP                  CONTACT: GLENN MITCHELL, TRADE PAYABLES                                                                          $397,907.14
        55 IVAN ALLEN JR. BLVD, SUITE 1000 MANAGING PARTNER         (US)
        ATLANTA, GA 30308                  PHONE: 404-874-8300
                                           EMAIL ADDRESS ON FILE


  13    ALORICA INC                        CONTACT: ANDY LEE, CEO      TRADE PAYABLES                                                                       $367,757.45
        5161 CALIFORNIA AVE                PHONE: 866-256-7422         (US)
        IRVINE, CA 92617                   EMAIL ADDRESS ON FILE
  14    PHOENIX FUND SIX LLC DBA           CONTACT: FRANK P        TRADE PAYABLES                                                                           $340,879.44
        PHOENIX HEMINGWAY INDUSTRAIL       CRIVELLO, CHAIRMAN &    (US)
        INVESTORS LLC                      FOUNDER
        401 E KILBURN AVE, STE 201         PHONE: 414-283-2600
        MILWAUKEE, WI 53202                INFO@PHOENIXINVESTORS.C
                                           OM
  15    DONGGUAN JINYI IMP & EXP CO LTD CONTACT: YANHUAI HE,           TRADE PAYABLES                                                                       $322,344.42
        NO. 801, NO. E AREA, HUIFENG    EXEC DIR                       (TPAG)
        CENTER                          PHONE: +86-755-89517585
        NO. 1, HUIFENG RD, GUANCHENG
        DISTRICT
        DONGGUAN
        GUANGDONG 523011 CHINA


  16    KONSTAR INDUSTRIES LTD.            CONTACT: YUK LIN TSUI, TRADE PAYABLES                                                                            $303,794.11
        UNIT 403-404, 4/F, BLOCK A         DIRECTOR               (TPAG)
        PO LUNG CENTRE                     PHONE: +852 27988988
        11 WANG CHIU RD, KOWLOON BAY       MARKETING@KONSTAR.COM
        KOWLOON HONG KONG                  .HK




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 2
                                  Case 24-12156-BLS                  Doc 1      Filed 09/17/24               Page 11 of 19
  Debtor: TUPPERWARE BRANDS CORPORATION                                                        Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  17    JENKON (JIA INC)                   CONTACT: ROBERT CAVITT,     TRADE PAYABLES                                                                       $284,100.00
        201 NE PARK PLZ DR, STE 220        CEO                         (US)
        VANCOUVER, WA 98684                PHONE: 360-256-4400
                                           EMAIL ADDRESS ON FILE
  18    MICROSOFT LICENSING GP             CONTACT: SATYA NADELLA,     TRADE PAYABLES                                                                       $252,380.92
        6100 NEIL RD, STE 100              CEO                         (US)
        RENO, NV 89511                     PHONE: 775-823-5600
                                           FAX: 775-337-3038
                                           EMAIL ADDRESS ON FILE
  19    DNS GLOBAL CO.,LTD                 CONTACT: KIM BYUNG IL       TRADE PAYABLES                                                                       $218,397.61
        ROAD 3, GIANG DIEN INDUSTRIAL      PHONE: +84 2518 966 355     (TPAG)
        ZONE                               FAX: +84 2518 966 366
        GIANG DIEN COMMUNE
        TRANG BOM DISTRICT
        DONG NAI VIETNAM
  20    LINKFAIR HOUSEHOLD (HK) LIMITED    CONTACT: KEVIN NG, VICE     TRADE PAYABLES                                                                       $211,699.17
        RM 501 5/F SHATIN INDL CTR BLK     GENENERAL MGR               (TPAG)
        B 5-7 YUEN SHUN CIRCUT             PHONE: +86 7662957896
        SHA TIN                            SALES@LINKFAIR.COM.CN
        HONG KONG


  21    DXC TECHNOLOGY SERVICES LLC        CONTACT: ROB DEL BENE,      TRADE PAYABLES                                                                       $201,631.94
        20408 BASHAN DR, STE 231           CHIEF FINANCIAL OFFICER     (US)
        ASHBURN, VA 20147                  PHONE: 800-401-1957
                                           EMAIL ADDRESS ON FILE
  22    LINK ENTERPRISE LTD                CONTACT: CHAN SENG          TRADE PAYABLES                                                                       $193,928.55
        FLAT A, 17/F., WARDLEY CENTRE,     KELVIN TIN                  (TPAG)
        9-11 PRAT AVENUE,                  PHONE: 717-740-5496
        TSIM SHA TSUI                      INFOPAE@LINKBUSINESS.CO
        KOWLOON HONG KONG CHINA            M
  23    TK GROUP INTERNATIONAL HONG        CONTACT: LEUNG YIU LEE,     TRADE PAYABLES                                                                       $190,250.00
        KONG LIMITED                       DIRECTOR                    (US)
        RM 19, 9TH FL, BLOCK B, CASTLE     PHONE: +852 24113628
        PEAK RD                            SALES@TKMOLD.COM
        TSUEN WAN
        HONG KONG
  24    PRINT LSC COMMUNICATIONS S DE      CONTACT: CONSTANCE          TRADE PAYABLES                                                                       $189,169.08
        R L DE C V                         BENEDICTE CLEMENCE          (US)
        CERRADA DE GALEANA NO 26           FOLCH DASSONVILLE
        FRACC IND LA LOMA                  PHONE: +52 55 5091 6300
        TLALNEPANTLA DE BAZ, ESTADO DE     EMAIL ADDRESS ON FILE
        MEXICO 54070
        MEXICO
  25    GHIDINI CIPRIANO S.R.L.            CONTACT: DIEGO ANDINA,      TRADE PAYABLES                                                                       $184,665.18
        VIA PONTE GANDOVERE 51             PRESIDENT                   (TPAG)
        GUSSAGO, BRESCIA 25064             PHONE: +39 0303737012
        ITALY                              INFO@GHIDINICIPRIANO.IT
  26    COMPUTER PACKAGES, INC.            CONTACT: JIM RUSSELL,       TRADE PAYABLES                                                                       $167,606.00
        11 N WASHINGTON ST, STE 300        OWNER                       (US)
        ROCKVILLE, MD 20850                PHONE: 301-424-8890
                                           EMAIL ADDRESS ON FILE




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 3
                                  Case 24-12156-BLS                  Doc 1       Filed 09/17/24              Page 12 of 19
  Debtor: TUPPERWARE BRANDS CORPORATION                                                        Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  27    GREEN ORCHID LANDSCAPE        CONTACT: BRANDON                 TRADE PAYABLES                                                                       $152,102.40
        SERVICES                      BRYSON, OWNER                    (US)
        8815 CONROY WINDERMERE RD 360 PHONE: 321-765-7676
        ORLANDO, FL 32835


  28    MANUTHIERS                         CONTACT: JEAN-MARCEL        TRADE PAYABLES                                                                       $147,728.83
        12 RUE D LINNOVATION               PIRONIN, PRESIDENT          (TPAG)
        ZONE DE HAUTES TECHNOLOGIES        PHONE: +33 0473514481
        BP 2                               CONTACT@MANUTHIERS.FR
        PESCHADOIRES 63920 FRANCE
  29    PENSION BENEFIT GUARANTY           CONTACT: STEPHANIE          PENSION                    U                                                       Undetermined
        CORPORATION                        THOMAS, ASST GENERAL
        OFFICE OF THE GENERAL COUNSEL      COUNSEL
        445 12TH ST SW                     PHONE: 202-391-4590
        WASHINGTON, DC 20024               EMAIL ADDRESS ON FILE
  30    NEW IMAGE INTERNATIONAL LTD.       CONTACT: GRAEME CLEGG, LITIGATION                     C,U                                                      Undetermined
        19 MAHUNGA DR                      FOUNDER AND CHAIRMAN
        MANGERE BRIDGE                     PHONE: +64 9 622 2388
        AUCKLAND 2022                      NZSUPPORT@NEWIMAGE.AS
        NEW ZEALAND                        IA




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 4
                          Case 24-12156-BLS                      Doc 1        Filed 09/17/24           Page 13 of 19



    Fill in this information to identify the case and this filing:

   Debtor Name          Tupperware Brands Corporation

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       09/17/2024                                   /s/ Steven Marcus Ramos
                                       MM/ DD/YYYY                                 Signature of individual signing on behalf of debtor
                                                                                   Steven Marcus Ramos
                                                                                   Printed name
                                                                                   Treasurer
                                                                                   Position or relationship to debtor

Official Form 202                                                    Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 24-12156-BLS   Doc 1   Filed 09/17/24   Page 14 of 19
            Case 24-12156-BLS   Doc 1   Filed 09/17/24   Page 15 of 19



Exhibit A
                                 Resolutions

                 RESOLUTIONS OF THE BOARDS OF DIRECTORS
                    OF TUPPERWARE BRANDS CORPORATION

                            September 16, 2024

     The members of the board of directors (the “Board”) of
Tupperware    Brands   Corporation,   a   Delaware    corporation
(the “Company”), hereby adopt the following resolutions in
accordance with the bylaws of the Company and applicable laws of
the State of Delaware:

CHAPTER 11 FILING

     WHEREAS, the Board has considered presentations by the
Company’s management (“Management”) and financial and legal
advisors (collectively, the “Advisors”) regarding the assets,
liabilities, and liquidity of the Company, the strategic and
financial alternatives available to it, and the effect of the
foregoing on the Company’s business; and

     WHEREAS, the Board has had the opportunity to consult with
Management and the Advisors and has fully considered each of the
strategic and financial alternatives available to the Company.

NOW, THEREFORE, BE IT:

     RESOLVED, that in the business judgment of the Board, it is
desirable and in the best interests of the Company (including a
consideration of its creditors and other parties in interest) that
the Company shall be, and hereby is, in all respects, authorized
to file, or cause to be filed, a voluntary petition for relief
commencing a case (a “Chapter 11 Case”) under the provisions of
chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
101-1532 (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) or
other court of competent jurisdiction; and

     RESOLVED, that any of the Principal Executive Officer,
President, Chief Legal Officer, Chief Restructuring Officer,
Secretary or any other duly-appointed officer of the Company
(collectively, the “Authorized Signatories”), acting alone or with
one or more other Authorized Signatories be, and they hereby are,
authorized, empowered, and directed to execute and file on behalf
of the Company all petitions, schedules, lists, and other motions,
papers, or documents, and to take any and all action that they
                             2
         Case 24-12156-BLS   Doc 1   Filed 09/17/24   Page 16 of 19



deem necessary or proper to obtain such relief, including, without
limitation, any action necessary to maintain the ordinary course
operation of the Company’s business.

USE OF CASH COLLATERAL AND ADEQUATE PROTECTION

      RESOLVED, that in the business judgment of the Board, it is
desirable and in the best interest of the Company, its
stakeholders, its creditors, and other parties in interest to
obtain the benefits of: (a) the use of cash collateral, as such
term is defined in section 363(a) of the Bankruptcy Code (the
“Cash    Collateral”),   which is   security   for  the   Company’s
prepetition secured lenders under certain credit facilities by and
among    the    Company,   the guarantors    party   thereto,   the
administrative and other agents party thereto, and the lenders
party thereto;

     RESOLVED, that in order to use and obtain the benefits of the
Cash Collateral, and in accordance with section 363 of the
Bankruptcy Code, the Company will provide certain adequate
protection to the Secured Parties (such obligations, “Adequate
Protection Obligations”), as documented in proposed interim and
final orders (the “Cash Collateral Orders”) to be submitted for
approval of the Bankruptcy Court, with the Board having been
apprised of the material terms and provisions of the Cash
Collateral Orders;

     RESOLVED, that the form, terms, and provisions of the Cash
Collateral Orders, and the actions and transactions contemplated
thereby be, and hereby are authorized, adopted, and approved in
all respects, and each of the Authorized Signatories of the
Company be, and hereby is, authorized and empowered, in the name
of and on behalf of the Company, to take such actions and
negotiate or cause to be prepared and negotiated and to perform,
and cause the performance of, the Cash Collateral Orders;

     RESOLVED, each of the Authorized Signatories be, and hereby
is, authorized, empowered, and directed in the name of, and on
behalf of, the Company to seek authorization and approval to use
Cash Collateral pursuant to the Cash Collateral Orders, and any
Authorized Signatory be, and hereby is, authorized, empowered, and
directed to negotiate, execute, and deliver any and all
agreements, instruments, or documents, by or on behalf of the
Company, relating to the use of Cash Collateral in connection with
the Chapter 11 Cases, all with such changes therein and additions
thereto as any Authorized Signatory approves, such approval to be

                                3
          Case 24-12156-BLS   Doc 1   Filed 09/17/24   Page 17 of 19



conclusively evidenced by the taking of such action or by the
execution and delivery thereof; and

     RESOLVED, that the Company, as a debtor and debtor in
possession under the Bankruptcy Code be, and hereby is, authorized
to incur the Adequate Protection Obligations, including granting
liens on its assets to secure such obligations;

RETENTION OF PROFESSIONALS

     FURTHER RESOLVED, that each of the Authorized Persons be, and
hereby are, authorized, empowered, and directed to employ on
behalf of the Company: (a) the law firm of Kirkland & Ellis LLP
and Kirkland & Ellis International LLP as general bankruptcy
counsel; (b) the law firm of Cole Schotz P.C. as co-bankruptcy
counsel; (c) Moelis and Company LLC as investment banker;
(d) Alvarez & Marsal North America, LLC as financial advisor;
(e) Epiq Corporate Restructuring, LLC as noticing and claims
agent; and (f) any other legal counsel, accountants, financial
advisors, restructuring advisors, or other professionals the
Authorized Persons deem necessary, appropriate, or advisable, each
to represent and assist the Company in carrying out its duties and
responsibilities and exercising its rights under the Bankruptcy
Code and any applicable law (including, but not limited to, the
law firms filing any motions, objections, replies, applications,
pleadings, or responses); and in connection therewith, each of
the Authorized Persons, with the power of delegation, is, and
hereby are authorized, empowered, and directed, in accordance with
the terms and conditions hereof, to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed
appropriate applications for authority to retain such services;

     FURTHER RESOLVED, that each of the Authorized Persons be, and
hereby are, authorized, empowered, and directed to execute and
file all petitions, schedules, motions, lists, applications,
pleadings, and other papers and to perform such further actions
and execute such further documentation that the Authorized Persons
in their absolute discretion deem necessary, proper, appropriate,
or desirable in connection with the Company’s Chapter 11 Case and
in accordance with the foregoing resolutions;

GENERAL

     FURTHER  RESOLVED,   that  in  addition  to   the  specific
authorizations heretofore conferred upon the Authorized Persons,
each of the Authorized Persons (and their designees and
delegates), either individually or as otherwise required by the
                                 4
         Case 24-12156-BLS   Doc 1   Filed 09/17/24   Page 18 of 19



Company’s governing documents and the applicable laws of the State
of Delaware, be, and each of them hereby is, authorized to
execute, acknowledge, deliver, and file any and all agreements,
certificates, instruments, powers of attorney, letters, forms,
transfer, deeds, and other documents on behalf of the Company
relating to the foregoing;

     FURTHER RESOLVED, that each of the Authorized Persons (and
their designees and delegates) be, and hereby is, authorized and
empowered, in the name of and on behalf of the Company to take or
cause to be taken any all such other and further action, and to
execute, acknowledge, deliver, and file any and all such
agreements, certificates, instruments, and other documents and to
pay all expenses, including but not limited to filing fees, in
each case as in such Authorized Person’s absolute discretion,
shall be necessary, appropriate, or desirable in order to fully
carry out the intent and accomplish the purposes of the
resolutions adopted herein;

     FURTHER RESOLVED, that the Board has received sufficient
notice of the actions and transactions relating to the matters
contemplated by the foregoing resolutions, as may be required by
the Company’s governing documents, or hereby waives any right to
have received such notice;

     FURTHER RESOLVED, that all acts, actions, and transactions
relating to the matters contemplated by the foregoing resolutions
done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing resolutions except that such
acts were taken before the adoption of these resolutions, are
hereby in all respects approved, confirmed, and ratified as the
true acts and deeds of the Company with the same force and effect
as if each such act, transaction, agreement, or certificate had
been specifically authorized in advance by resolution of the
Company; and

     FURTHER RESOLVED, that any Authorized Person (and their
designees and delegates) be, and each of them hereby is,
authorized to do all such other acts, deeds and other things as
the Company itself may lawfully do, in accordance with the
Company’s governing documents, as applicable, of the Company and
the applicable laws of the State of Delaware, howsoever arising in
connection with the matters above, or in furtherance of the
intentions expressed in the foregoing resolutions, including, but
not limited to, the negotiation, finalization, execution, and
delivery of any other agreements, certificates, instruments,
powers of attorney, letters, forms, transfer, deeds, and other
                             5
        Case 24-12156-BLS   Doc 1    Filed 09/17/24   Page 19 of 19



documents whatsoever as the individual acting may in his/her
absolute and unfettered discretion approve, deem or determine
necessary, appropriate or advisable, such approval, deeming, or
determination to be conclusively evidenced by said individual
taking such action or the execution thereof.

                       *     *       *     *      *




                                 6
